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                                 UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY




         CHAMBERS OF                                                    UNITED STATES COURTHOUSE
       JOEL SCHNEIDER                                                    ONE JOHN F. GERRY PLAZA
UNITED STATES MAGISTRATE JUDGE                                         Fourth & Cooper Streets, Room 2060
                                                                          Camden, New Jersey 08101

                                          LETTER ORDER
                                      ELECTRONICALLY FILED
                                        October 1, 2019

     To: All Defense Counsel

           Re:         M.R. v. Stockton University
                       Civil No. 18-11431 (RMB/JS)

                       K.S. v. Stockton University
                       Civil No. 18-11635 (RMB/JS)

                       D.N. v. Stockton University
                       Civil No. 18-11932 (RMB/JS)

                       S.U. v. Stockton University
                       Civil No. 18-12145 (RMB/JS)

                       M.H. v. Stockton University
                       Civil No. 18-12678 (RMB/JS)

                       A.D. v. Stockton University
                       Civil No. 18-13504 (RMB/JS)

                       D.D. v. Stockton University
                       Civil No. 18-13506 (RMB/JS)

                       K.H. v. Stockton University
                       Civil No. 18-15651 (RMB/JS)

                       J.T. v. Stockton University
                       Civil No. 19-7868 (RMB/JS)

                       Altman v. Stockton University
                       Civil No. 19-16595 (RMB/JS)

                       Madle v. Ace European Group Limited
                       Civil No. 19-15713 (RMB/JS)
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Dear Defense Counsel:

     The Court schedules an in-person conference in these matters
with just defense counsel on October 21, 2019 at 2:30 p.m. in
Courtroom 3C.   You are ORDERED to arrange for your clients and
their insurers to be available by phone.      The purpose of the
conference is to gauge the defendants’ interest in resolving all
of these “Stockton” cases. Plaintiff is not asked to be present
at the conference but may be contacted by phone.

                                       Very truly yours,
                                       s/Joel Schneider
                                       JOEL SCHNEIDER
                                       United States Magistrate Judge
JS:aks
cc: Hon. Renée Marie Bumb
    All counsel via e-file
